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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

KEVIN TORGERSON,

          Plaintiff,

v.                                                                         1:21-cv-00204-KWR-LF

CHRISTOPHER STARR,

          Defendant.

    ORDER GRANTING UNOPPOSED MOTION TO MODIFY AND EXTEND CURRENT
       CASE MANAGEMENT DEADLINES AND TO VACATE THE SETTLEMENT
                    CONFERENCE OF OCTOBER 14, 2021

          THIS MATTER comes before the Court on Plaintiff’s Unopposed Motion to Modify and

Extend Current Case Management Deadlines and to Vacate the Settlement Conference of October

14, 2021, filed on August 4, 2021. Doc. 19. Having read the motion and noting that it is

unopposed, the Court finds that the motion is well-taken and will GRANT it.

          IT IS THEREFORE ORDERED that the scheduling order deadlines are extended as

follows:


     a)     Plaintiff’s Rule 26(a)(2) expert disclosure:1                             October 25, 2021

     b)     Defendant’s Rule 26(a)(2) expert disclosure:1                             December 13, 2021

     c)     Termination date for discovery:                                           January 24, 2022

     d)     Motions relating to discovery to be filed by:                             January 31, 2022




1
  Parties must disclose the names of all expert witnesses, including treating physicians, the subject matter
on which the experts will present evidence, and a summary of the facts and opinions to which the experts
are expected to testify by this date. Experts who are retained or specifically employed to provide expert
testimony also must submit an expert report by this date. See Fed. R. Civ. P. 26(a)(2). The parties must
have their retained expert(s) ready to be deposed when they identify them and provide their reports.
Expert witnesses who are not required to provide a written report may be deposed before summary
disclosure.
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    e)     Pretrial motions other than discovery motions (including                  February 9, 2022
           motions which may require a Daubert hearing)2 filed by:

    f)     Proposed Pretrial Order: Plaintiff to Defendant by:                       March 24, 2022

                                      Defendant to Court by:                         April 7, 2022

         Any extension of the case management deadlines must be approved by the Court. Any

requests for additional discovery must be submitted to the Court by motion prior to the expiration

of the discovery deadline.

         IT IS FURTHER ORDERED that the settlement conference set for October 14, 2021 at

09:00 AM remote via Zoom is VACATED and will be reset at a later date.




                                                  __________________________
                                                  Laura Fashing
                                                  United States Magistrate Judge




2
  This deadline applies to motions related to the admissibility of experts or expert testimony that may
require a Daubert hearing, but otherwise does not apply to motions in limine. The Court will set a
deadline for filing motions in limine in a separate order.

                                                     2
